
PER CURIAM.*
Respondent and the Office of Disciplinary Counsel (“ODC”) submitted a joint petition for consent discipline in which respondent acknowledges that he engaged in conduct constituting a conflict of interest. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that M. Craig Colwart, Louisiana Bar Roll number 4365, be and he hereby is publicly reprimanded.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.

 Weimer, J., recused.

